                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION


UNITED STATES OF AMERICA                        :    Criminal No. 3:18-CR-00011
                                                :
v.                                              :
                                                :
JAMES ALEX FIELDS JR.                           :
                                                :
____________________________________


                      MOTION TO WITHDRAW ATTORNEY APPEARANCE

            The United States of America, through undersigned counsel, respectfully moves this Court

     to withdraw attorney Stephen J. Curran as counsel of record for this case. The government makes

     this motion because Mr. Curran has left the U.S. Department of Justice. Accordingly, the

     government respectfully asks that the Court grant this motion.

                                                         Respectfully submitted,


                                                         THOMAS T. CULLEN
                                                         United States Attorney



                                                         /s/ Risa Berkower________
                                                         Risa Berkower
                                                         Trial Attorney
                                                         U.S. Department of Justice
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2018, I electronically filed the foregoing motion

with the Clerk of the Court using CM/ECF system, which will send notification of such filing to

all counsel of record.



                                                    _/s/Risa Berkower________
                                                    Risa Berkower
                                                    Trial Attorney
                                                    U.S. Department of Justice




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